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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                       :
John Broadbrook,                       :
                                         Civil Action No.: ______
                                       :
                  Plaintiff,           :
       v.                              :
                                       :
CCB Credit Services, Inc.; and DOES 1- :
                                         COMPLAINT
10, inclusive,                         :
                                       :
                                       :
                  Defendants.          :


      For this Complaint, the Plaintiff, John Broadbrook, by undersigned

counsel, states as follows:


                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.      The Plaintiff, John Broadbrook (“Plaintiff”), is an adult individual

residing in New Milford, Connecticut, and is a “consumer” as the term is defined

by 15 U.S.C. § 1692a(3).

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      5.      Defendant CCB Credit Services, Inc. (“CCB”), is a Illinois business

entity with an address of 5300 South 6th Street, Frontage Road East, Springfield,

IL 62703, operating as a collection agency, and is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

CCB and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      CCB at all times acted by and through one or more of the Collectors.


                   ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.      The Plaintiff incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to CCB for

collection, or CCB was employed by the Creditor to collect the Debt.

      11.     The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).


   B. CCB Engages in Harassment and Abusive Tactics


      12.     CCB places calls to Plaintiff’s residential telephone as often as six

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(6) times per day in an attempt to collect the Debt.

      13.    CCB placed calls to Plaintiff during the weekend, including calls to

Plaintiff on a Sunday at 7a.m. and 9:30p.m.

      14.    CCB uses rude and abusive language when speaking with Plaintiff.

      15.    CCB threatened to “ruin his future” if he did not pay the Debt.

      16.    CCB did not send Plaintiff a 30-Day Validation Notice.


   C. Plaintiff Suffered Actual Damages


      17.    The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants’ unlawful conduct.

      18.    As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.

      19.    The Defendants’ conduct was so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.


                                      COUNT I

               VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      20.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      21.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that

Defendants contacted the Plaintiff at a place and during a time known to be

inconvenient for the Plaintiff.


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      22.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that

Defendants contacted the Plaintiff before 8:00 a.m. and after 9:00 p.m.

      23.    The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that

Defendants used profane and abusive language when speaking with the

consumer.

      24.    The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that

Defendants caused a phone to ring repeatedly and engaged the Plaintiff in

telephone conversations, with the intent to annoy and harass.

      25.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      26.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that

Defendants failed to send the Plaintiff a validation notice stating the amount of

the Debt.

      27.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that

Defendants failed to send the Plaintiff a validation notice stating the name of the

original creditor to whom the Debt was owed.

      28.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that

Defendants failed to send the Plaintiff a validation notice stating the Plaintiff’s

right to dispute the Debt within thirty days.

      29.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that

Defendants failed to send the Plaintiff a validation notice informing the Plaintiff of

a right to have verification and judgment mailed to the Plaintiff.

      30.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that



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Defendants failed to send the Plaintiff a validation notice containing the name and

address of the original creditor.

      31.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.

      32.     The Plaintiff is entitled to damages as a result of Defendants'

violations.


                                       COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      33.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      34.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable

person.”

      35.     Connecticut further recognizes the Plaintiff’s right to be free from

invasions of privacy, thus the Defendants violated Connecticut state law.

      36.     The Defendants intentionally intruded upon Plaintiff’s right to privacy

by continually harassing the Plaintiff with excessive phone calls and phone calls

during the weekend.

      37.     The telephone calls made by the Defendants to the Plaintiffs were so

persistent and repeated with such frequency as to be considered, “hounding the


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plaintiff,” and, “a substantial burden to her existence,” thus satisfying the

Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

      38.     The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

considered highly offensive to a reasonable person.

      39.     As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

      40.     All acts of the Defendants and its agents were committed with

malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.


                                       COUNT III

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      41.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      42.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      43.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      44.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.




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                                     COUNT IV

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      45.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully set forth herein at length.

      46.    The acts, practices and conduct engaged in by the Defendants vis-à-

vis the Plaintiff was so outrageous in character, and so extreme in degree, as to

go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

      47.    The foregoing conduct constitutes the tort of intentional infliction of

emotional distress under the laws of the State of Connecticut.

      48.    All acts of the Defendants and the Collectors complained of herein

were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.


                                      COUNT V

                              COMMON LAW FRAUD

      49.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      50.    The acts, practices and conduct engaged in by the Defendants and

complained of herein constitute fraud under the Common Law of the State of

Connecticut.

      51.    The Plaintiff has suffered and continues to suffer actual damages as

a result of the foregoing acts and practices, including damages associated with,

among other things, humiliation, anger, anxiety, emotional distress, fear,


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frustration and embarrassment caused by the Defendants. All acts of the

Defendants and the Collectors complained of herein were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.


                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

               1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

               2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

               3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;

               4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

               5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

               6. Actual damages from the Defendants for the all damages

                    including emotional distress suffered as a result of the

                    intentional, reckless, and/or negligent FDCPA violations and

                    intentional, reckless, and/or negligent invasions of privacy in an

                    amount to be determined at trial for the Plaintiff;

               7. Punitive damages; and

               8. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS


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Dated: August 5, 2010

                                   Respectfully submitted,

                                   By /s/ Sergei Lemberg

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